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VIA ECF
Frederick J. Scullin
United States District Judge
Federal Building and U.S. Coufihouse
100 South Clinton Street
P. O. Box 7255
Syracuse, NY 13261 -7345

             Re      Doe v. Syracuse University, et al
                     Civil Action No.: 5:18-CV-00496 IFJS-DEPI

Dear Judge Scullin:

      Thank you for your patience and attention to this ongoing dispute. To resolve defense counsel's
concems about the relevant provisions of the Fed. R. Civ. P. at issue here, Dkt. # 6l,Plaintifß aver the
following:

             Defense counsel declined to stipulate to Plaintiffs'request to voluntarily discontinue the action and refile
it, along with his motion to dismiss, in Jefferson County. Instead, Defendants erected a road block to this
resolution by filing an Answer and Order to Show Cause under the All Writs and Anti-Injunction Acts, Dkt. # 48,
which have no bearing on this case. Defendants are correct that Plaintiffs can no longer voluntarily dismiss this
action "wíthout a Court Order." Fed. R. Civ. P. al @) (1) (A).

        To dispel any residual doubt concerning whether this action and the pending Article 78 proceeding are
seeking the same reliet as argued by Defendants in their motion for a preliminary injunction, Dkt. # 48, Plaintiffs
properly amended their Complaint as they had a right to do wíthout Defendants' consent and without a Courl
Order. See Azkour v. Bowery Residents' Committee, Lnc.,2017 WL 4221456 (S.D.N.Y. Sept. 22,2017); Ramirez
v. Cty. of San Bernardino, 806 F.3d 1002, 1001 (9th Cir. 2015). The Third Amended Complaint repløces øncl
supercedes the Second Amended Complaint. See Hutchinson v. V[/atson, No. 9:13-CY-862 (FJS/RFT), 20l4WL
1 1515849, at
              x8 (N.D.N.Y. Aug. 73, 2014), aff d, 607 F. App'x 116 (2d Cir. 2015) (quoting Dluhos v. Floating &
Abandoned Vessel, 162F.3d 63, 68 (2d Cir. 1998) (stating lhat" " '[i]t is well established that an amended
complaint ordinarily supersedes the learlier cornplaint], and renders it of no legal effect' " ")) (balance of citations
ornitted).

        Now that Plaintifß have amended the Cornplaint and eliminated their rernaining request for injunctive
relief,                 right to do, there is no longer any irnpedirnent, if any existed, to this Court granting their
             as they also had a
request "[bJy Court Order" to voluntarily disrniss without prejudice. Fed. R. Civ. P. 41 (a) (2). Plairitiffs utilized
the emergency motion procedure because the Third Amended Cornplaint and Rule 41 request for leave to dismiss
likely moot Defendants' request for injunctive relief.
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mith Sovik Kendrick & Sugnet P.C.

   August 31,2018
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               Thank you for your consideration in this matter.

                                                    Respectfully submitted,




                                                    Karen G. Felter

   CC: All counsel of record (VIA CM/ECF)




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